Case 4:09-cr-00043-SPF Document 597 Filed in USDC ND/OK on 11/05/14 Page 1 of 1
                                        OFFICE OF THE CLERK
                             UNITED STATES DISTRICT COURT
Phil Lombardi                         Northern District of Oklahoma                    Telephone (918) 699-4700
Clerk of Court                      411 UNITED STATES COURTHOUSE                             Fax (918) 699-4756
                                          333 West Fourth Street
                                       Tulsa, Oklahoma 74103-3819

                                          November 5, 2014

Clerk of Court
Tenth Circuit Court of Appeals
1823 Stout Street
Denver, Colorado 80257



IN RE:           Case No.:            09-CR-43-SPF
                   th
                 10 Circuit Case No.: 14-5109
                 Plaintiff:           United States of America
                 Defendant:           Lindsey Kent Springer


Dear Clerk of Court,

          Enclosed herewith is the electronic record on appeal.
          If there is anything further needed, please do not hesitate to contact me.



                                                        Very truly yours,

                                                        Phil Lombardi, Clerk of Court


                                                                s/ S. Cope

                                                        By: S. Cope, Deputy Clerk


Enclosures: VOLUME I             Docket Sheet & Public Pleadings

cc: All counsel of record
    (With Docket Sheet/Index)




                                                                                                  AP-02 (11/11)
